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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
_____________________________________
                                          )
AMERICA FIRST LEGAL                       )
FOUNDATION                                )
                                          )
                        Plaintiff,        )
                                          )
                 v.                       )
                                          )   Civil Action No. 1:24-cv-03105 (RJL)
PAMELA BONDI,                             )
Attorney General of the United States,    )
in her official capacity,                 )
                                          )
and                                       )
                                          )
UNITED STATES DEPARTMENT OF               )
JUSTICE,                                  )
                                          )
                        Defendants.       )
_____________________________________)

    DEFENDANTS’ MOTION FOR LEAVE TO SUBMIT INFORMATION FOR THE
              COURT’S EX PARTE AND IN CAMERA REVIEW

       This case concerns Plaintiff’s attempt to obtain a court order forcing the Department of

Justice (DOJ) to require AMP, NSJP, Abuirshaid, Bazian, and WESPAC to register as foreign

agents in compliance with the Foreign Agents Registration Act (FARA). In conjunction with

DOJ’s reply memorandum in support of its motion to dismiss, DOJ seeks to provide the Court with

information concerning whether or not an investigation exists into the groups and individuals

named in Plaintiff’s Complaint. Given the sensitivity of this information, DOJ moves for leave to

submit this information to the Court ex parte and in camera.1




1
 Counsel for Defendants has conferred with Plaintiff’s counsel pursuant to Local Civil Rule 7(m),
and Plaintiff does not oppose this motion.
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                                           ARGUMENT

       “[I]n cases in which sensitive materials may be in issue, . . . the court has inherent authority

to review such material ex parte, in camera as part of its judicial review function.” Olivares v.

TSA, 819 F.3d 454, 462 (D.C. Cir. 2016) (cleaned up) (citation omitted); see also Jifry v. FAA, 370

F.3d 1174, 1182 (D.C. Cir. 2004) (collecting cases).

       As a general rule, DOJ does not confirm, deny, or comment on pending investigations,

both to protect the integrity of any investigation and the rights of any accused. Publicly

acknowledging the existence or non-existence of an investigation could interfere with any pending

investigation by informing individuals who are subjects or witnesses in advance of a time or

circumstances determined by investigators, thereby posing the risk of adversely affecting

subsequent testimony as well as the gathering of evidence. Disclosure may also alert other

individuals, including future potential subjects and witnesses, about the focus and scope of any

investigation. Such a disclosure might influence their behavior or testimony in ways that may

adversely affect any investigation, including by altering their testimony, taking defensive actions

to conceal their activities or evidence, eluding detection, or altering or fabricating evidence. Even

a public denial about an investigation could harm the Government’s law enforcement interests by

revealing important information about enforcement priorities, DOJ’s investigative focus, or what

matters have or have not been investigated. For these reasons, ex parte submissions “are

particularly appropriate” where, as here, disclosure could reveal the target of a criminal

investigation. See United States v. Loera, No. 09-CR-466BMCS4, 2017 WL 2821546, at *2

(E.D.N.Y. June 29, 2017); see also Agrama Internal Revenue Serv., No. 17-5256, 2019 WL

2067719, at *2 (D.C. Cir. Apr. 19, 2019) (reviewing information ex parte that could “reveal the

scope and direction of the investigation and could allow the target to destroy or alter evidence,




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fabricate fraudulent alibis, and intimidate witnesses”) (quoting North v. Walsh, 881 F.2d 1088,

1097 (D.C. Cir. 1989).

        Here, DOJ seeks to provide the Court with information concerning whether or not an

investigation exists into the groups and individuals named in Plaintiff’s Complaint. For the reasons

stated above, regardless of whether or not an investigation exists, this information must be

provided to the Court ex parte and in camera to prevent harm to DOJ’s law enforcement and

investigative interests.

        In the event the Court grants this motion, DOJ will make appropriate arrangements to

provide the information to the Court in camera and ex parte.



Dated: February 25, 2025                             Respectfully submitted,

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                                                     Deputy Assistant Attorney General

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                                                     Director
                                                     Federal Programs Branch

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                                                     /s/ Allison M. Walter
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